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TRICK L. MEEHAN .
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astern District of Pennsylvania DISTRICT OF ARIZONA Mot ST OF ARIZC fy. NT
BY. DEPUTY | 8. es
DANIEL A. VELEZ nr £08 PUTY

 

Assistant United States Aiomey
615 ae Street, Suite 125
Philadelphia, PA 19106

 

UNITED STATES DISTRICT COURT

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‘United States of America,

 
   

Plaintiff i 26 a cr Y-S0F
i zip PLEA AGREEMENT
v. ait * Glen
py ARS Zee Sentencing Guidelines
GREGORY PRIORE, - Are Applicable)
Defendant.

 

Plaintiff, United. States of America, and defendant, GREGORY PRIORE, hereby agree

to the following disposition of this matter:

. . PLEA .
Defendant will plead guilty to to an information charging defendant witha violation of Title
18, United States Code, Section 371, conspiracy to commit mail fraud, a felony offense, ‘as
defined by Title 18, United States Code, Section 3559.
TERMS
Defendant understands that the guilty plea is conditioned upon the following terms,

stipulations, and requirements:

1. MAXIMUM PENALTIES

a. A violation of Title 18, United States Code, Section 371, is punishable by a
maximum fine of $250,000.00, a maximum term of imprisonment of 5 years, or both anda term

of supervised release of 3 years, pursuant to Title 18, United States Code, Section 3583.

 

 

 
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~ b. According to the Sentencing Guidelines issued pursuant to the Sentencing Reform
Act of 1984, the court shall: |
(1) Order the defendant to make restitution to any victim of the offense unless,
pursuant to Title 18, United States Code, Section 3663 and Section 5E1.1 of the Guidelines, the
court determines that restitution would not be appropriate in this case;
| (2) .. Order the defendant to pay a fine, which may include the costs of probation,
supervised release or incarceration, unless, pursuant to Title 18, United States Code 3611 and

Section 5E1.2(e) of the Guidelines, the defendant establishes the applicability of the exceptions

found therein; .
(3) Order the defendant, pursuant to Title 18, United States Code; Section 3583

and Section 5D1I.1 and 2 of the Guidelines to serve a term of supervised release when required

-by statute or when a sentence of imprisonment of more than one year is imposed, and the court .

may impose a term of supervised release in all other cases.

c. Pursuant to Title 18, United States Code, Section 3013, the court is required to

impose a special assessment on the defendant of $100.00. The special assessment is due at the

| time the defendant enters the plea of guilty, but in no event shall it be paid. later than the time of

sentencing.

2. AGREEMENTS REGARDING SENTENCING

a. Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will not oppose
defendant s request for probation.

b. Defendant understands that’ the court is neither a party to nor bound by this
agreement and specifically that the United States' recommendation is not binding on the court,
and the court may impose any sentence provided for by law. Defendant further understands that

if the court imposes a sentence different from what the United States recommends the defendant

will not be permitted to withdraw the guilty plea.

 

 

 
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c. If the court, after reviewing this plea agreement, concludes that any provision is |
inappropriate, it may reject the plea agreement, giving defendant, in accordance with
Fed. R. Crim. P. 11(d)(2)(A), an opportunity to withdraw the guilty plea.

d. The United States retains the unrestricted right to make any and all statements it
deems appropriate to the Probation Office and to make factual and legal responses to any

statements made by the defendant or defense counsel or objections to the presentence report or

to questions by the court at the time of sentencing. —

e. Acceptance of Responsibility Assuming the defendant makes full and complete
disclosure to the Probation Department of the circumstances surrounding the defendant's
commission of the offense and, ifthe defendant demonstrates an acceptance of responsibility for

this offense up to and including the time of sentencing, the United States will recommend atwo-

point or three-point reduction in the applicable sentence guideline offense level, as appropriate,

pursuant to Section 3E1.1 of the Guidelines.

3. AGREEMENT TO MAKE RESTITUTION
Defendant specifically agrees to make restitution to Ohio Casualty Group of New Jersey
in the amount of $12,381.12.

4, AGREEMENT TO DISMISS OR NOT TO PROSECUTE

a. This office will not prosecute the defendant for any offenses committed by the
defendant, and known by the government, in connection with the illegal giving up of the 1995
Ford F-150 pickup truck..

This agreement does not, in any manner, restrict the actions of the United States in any
other district nor bind any other United States Attorney's Office.

b. The United States is not presently aware of any federal or state investigations or

charges.

 

 

 
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5. WAIVER OF DEFENSES AND APPEAL RIGHTS

a. Defendant hereby waives any right to raise on appeal or collaterally attack any
matter pertaining to this prosecution and sentence if the sentence imposed is consistent with the
terms of this agreement.

b. The United States likewise will waive its right to appeal the sentence imposed by
the court and the manner in which the court determines the defendant's sentence, as long as the

sentence is within statutory parameters provided by law for the offenses] specified above.

6. WAIVER OF RIGHT TO JURY TRIAL ON SENTENCING FACTORS
The defendant, by entering this plea, also waives any right to have facts that the law:

‘makes essential to the punishment either (1) charged in the information, (2) proven to a jury,

or (3) proven beyond a reasonable doubt. The defendant explicitly consents to be sentenced
pursuant to the applicable Sentencing Guidelines and to have the sentence based on facts to be

found by the sentencing judge by a preponderance of the evidence. The defendant explicitly

| acknowledges that his plea to the charged offense(s) authorizes the court to rmpose any sentence,

up to and including the statutory maximum sentence, that is authorized by the Sentencing

Guidelines.

7. PERJURY AND OTHER FALSE STATEMENT OFFENSES OR OTHER

 

OFFENSES
Nothing in this agreement shall be construed to protect the defendant in any way from

|| prosecution for perjury, false declaration or false statement, or any other offense committed by

defendant after the date of this agreement. Any information, statements, documents, and

evidence which defendant provides to the United States pursuant to this agreement may be used

against the defendant in all such prosecutions.

 

 

 
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1} 8. REINSTITUTION OF PROSECUTION

If defendant's guilty plea is rejected, withdrawn, vacated, or reversed at any time, the
United States will be free to prosecute the defendant for all charges of which it has knowledge,
and any charges that have been dismissed because of this plea agreement will be automatically

reinstated. In such event, defendant waives any objections, motions, or defenses based upon the

charges or proceedings. The defendant understands that any statements made at the time of the

 

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6 | Statute of Limitations, the Speedy Trial Act or constitutional restrictions in bringing of the later
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8 || defendant's change of plea or sentencing may be used against the defendant in any subsequent
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hearing, trial or proceeding as permitted by Fed. R. Crim. P. 11(£).

 

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11,9. | DISCLOSURE OF INFORMATION TO U.S. PROBATION OFFICE
12 -  C Defendant understands the United States' obligation to provide all information in

13 its file regarding defendant to the United States Probation Office.
14 od... The defendant will cooperate fully with the United States Probation Office. Such |
15 | cooperation will include truthful statements in response to any questions posed by the Probation
16 || Department including, but not limited to: | |

17] (1) All criminal history informationi, i.e., all criminal convictions as defined
is | under the Sentencing Guidelines. | |

19 ‘ (2) All financial information, e.g., present financial assets or liabilities that
20 | relate to the ability of the defendant to pay a fine or restitution.

21 (3)  Allhistory ofdrug abuse which would warrant a treatment condition as part

221 of sentencing.

23 | (4) Althistory of mental illness or conditions which would warrant a treatment

24 | condition as a part of sentencing.
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10. FORFEITURE, CIVIL, AND ADMINISTRATIVE PROCEEDINGS
8 Nothing in this agreement shall be construed to protect the defendant from civil
forfeiture proceedings or prohibit the United States from proceeding with and/or initiating an
action for civil forfetture.
f. Further, this agreement does not preclude the United States from instituting any
civil or administrative proceedings as may be appropriate now or in the future. |

FACTUAL BASIS

If this case were to proceed to trial, the United States would be required to prove beyond
a reasonable doubt each of the following elements to establish a violation of Title 18, United
States Code, Section 371: 1) two or more persons, 2) conspired and agreéd, 3) to commit an
offense against the United States, and 4) one or more of them did any act to effect the obj ect of
the conspiracy. The object of the conspiracy in this case was to commit mail fraud in violation
‘of Title 18, United States Code, Section 1341. |

I further agree that if this matter were to proceed to trial the United States could prove
the following facts beyond a reasonable doubt: 7

The defendant owned a 1995 Ford F-150 pickup truck financed by WFS Financial. In-
‘the spring of 2001, the defendant experienced trouble keeping up with his child support
- obligations and felt the truck, which was purchased in 2000 for approximately $14,000, was a
financial burden. He told his girlfriend at the time, Janine Kassab, and her friend, Diane LNU, |.

|| his st¢ess over the cost. Diana mentioned that she knew some people at a junk yard that would

take cars off of people’s hands. At some point Diana made a telephone call and received |.

| instructions as to where Priore should leave his truck. Diana passed this information to Priore.

-Priore was told not to report the truck stolen until he was contacted some time later. Priore
agreed to leave his truck in front of a bowling alley, in a lot that was located across from Home
Depot. On or about May 2 or 3, 2001, Priore drove the truck to the designated spot and left the
keys in the truck, as instructed. Priore, Kassab, and Diana waited in a nearby parking lot until

a black vehicle with tinted windows arrived in the area. A man got out of the black vehicle and

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1 || drove off with Priore’s truck. On May 9, Priore was contacted by Diana and told to report the |
2 || truck stolen. That evening, Priore and Kassab went to the movies near the Home Depot, waited
3 | until a movie was over, and then Priore called the police to report the truck stolen to the
4 || Washington Township Police Department, New Jersey. Shortly thereafter, Priore filed a false
5 } claim with Ohio Casualty Group of New Jersey. Priore paid off the approximately $1500 owed
6 || on the car that was not covered by the insurance. "
7 -
8 Priore filed a stolen vehicle report with the Washington Township Police
9 Department on May 9, 2001, claiming that the vehicle had been stolen from the movie theater
10] parking lot. Shortly thereafter, Priore notified Ohio Casualty Group of New Jersey that his
11] vehiclehad been stolen. Inhis report to the police as well as to the insurance agent, Priore stated
12 that he parked the vehicle on May 9, 2001, in the Regal Cinema Movie Theater parking lot, in
13 | Turnersville, New Jersey. Upon leaving the movie, Priore realized the vehicle was gone. Priore
14 } also stated that his girlfriend, Kassab, was a witness. Unbeknownst to Priore, law enforcement
15 | officials had photographed the F-150 pickup truck as part of an FBI-Philadelphia Police task
16 || force chop shop and insurance giveup investigation on May 4, five days prior to Priore reporting
‘AT | the truck stolen. The truck was seeti at a chop shop in Philadelphia in the Eastern District of
18 Pennsylvania and was photographed by law enforcement officials in Philadelphia.

 

 

 

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20 On or about May 19, 2001, the defendant mailed through the postal service from
21 Glassboro, New Jersey, an affidavit of vehicle theft to Ohio Casualty Group of New Jersey in

22 || which he claimed that his 1995 Ford F-150 pickup had been stolen when defendant knew that
23 || this was untrue. On.or about July 16, 2001, Ohio Casualty Group in Voorhees, NJ, issued to
24 WES Financial in Irvine, CA, a laser check in the amount of $12,381.12. On or about September

25 || 5, Ohio Casualty Group, issued to New Jersey Division of Motor Vehicles in Trenton, NJ, a laser

26 |i check in the amount of $20.00 to obtain salvage title.
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Priore was interviewed by the FBI on April 8, 2002, wherein he repeated the same
story he had provided the police. On November 6, 2002, Priore was re-interviewed. After
initially repeating the same story, Pnore was confronted by the agents and informed they were

aware of the insurance fraud scheme. Priore then confessed to giving up the truck.

I understand that I will have to swear under oath to the accuracy of this statement, and if

I should be called upon to testify about this matter in the future, any intentional material

inconsistencies In my testimony may subject me to additional penalties of perjury or false

swearing which may be enforced by the United States under this agreement.

DEFENDANT'S APPROVAL AND ACCEPTANCE .
I have read each of the provisions of the entire plea agreement with the assistance of |.

counsel and understand its provisions.

I have discussed the case and my constitutional and other nghts with my attorney. I

‘understand that by entering my plea of guilty I will be giving up my rights to plead not guilty,

to trial by jury, to confront, cross-examine, and compel the attendance of witnesses, to present

| evidence in my defense, to remain silent and refuse to be a witness against myself by asserting |

my privilege against self-incrimination -- all with the assistance of counsel -- and to be presumed |
innocent until proven guilty beyond a reasonable doubt.

Information/Waiver of Indictment I understand that I have a right to have the charge[s]
prosecuted by an indictment returned by a concurrence of 12 or more members of a legally
constituted grand jury consisting of not less than 16 and not more than 23 members. By signing
this agreement, I knowingly waive my right to be prosecuted by indictment and to assert at trial
or on appeal any defects or errors arising from the information, the information process, or the
fact that I have been prosecuted by way of wnformation. |

I agree to enter my guilty plea as indicated above on the terms and conditions set forth

in this agreement.

 

 

 
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I have been advised by my attorney of the nature of the charges to which | am entering |
my guilty plea. I have further been advised by my attorney of the nature and range of the
possible sentence and that my ultimate sentence will be determined according to the guidelines
promulgated pursuant to the Sentencing Reform Act of 1984. Lunderstand that the Guideline

Range referred to herein or discussed with my attorney is not binding on the court and is merely

an estimate. 1 further understand that under certain limited circumstances the court may depart

upward or downward from the calculated guideline range.
My guilty plea is not the result of force, threats, assurances or promises other than the
promises contained in this agreement. I agree to the provisions of this agreement as a voluntary

act on my part, rather than at the direction of or because of the recommendation of any other |

person, and I agree to be bound according to its provisions.

I fully understand that, if Tam granted probation or placed on supervised release by the
court, the terms and conditions of such probation/supervised release are subject to modification |.
at any time. I further understand that, if I violate any of the conditions of my
probation/supervised release, my probation/supervised release may be revoked and upon such
revocation, notwithstanding any other provision of this agreement, I may he required to serve

a term of imprisonment or my sentence may otherwise be altered.

J agree that this written plea agreement contains all the terms and conditions of my plea | _.

| and that promises made by anyone (iacluding my attorney), and specifically any predictions as

to the guideline range applicable, that are not contained within this written plea agreement are |

without force and effect and are null and void.

I am satisfied that my defense attorney has represented me in a competent manner.

 

 
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| I am fully capable of understanding the terms and conditions of this plea agreement. I}

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arm not now on or under the influence of any drug, medication, liquor, or other intoxicant or

depressant, which would impair my ability to fully understand the terms and conditions of this

plea agreement.
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Date GRE K. PRIORE

Defendant

 

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DEFENSE ATTORNEY'S APPROVAL

I have discussed this case and the plea agreement with my client, im detail and have

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advised the defendant of all matters within the scope of Fed. R. Crim. P. 11, the constitutional

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i)

and other rights of an accused, the factual basis for and the nature of the offense to which the |

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| guilty-plea will be entered, possible defenses, and the consequences of the guilty plea including

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the maximum statutory sentence possible. I have further discussed the sentencing guideline

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concept with the defendant. No assurances, promises, or representations have been given to me

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: or to the defendant by the United States or by any of its representatives which are not contamed
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| in this written agreement. I concur in the entry of the plea as indicated above and on the terms
and conditions set forth i in this agreement as in the best interests of my client. I agree to make

a bona fide effort to ensure that the guilty plea is entered in accordance with all the requirements

of Fed. R. Crim. P. 11.

   

  

 

   

MARANNA MBEHAN, ESO.
Attorney for Defendant

 

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| DA i
. Nutt -f) . Assistant U.S. Attorney

 

 

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. UNITED STATES' APPROVAL
I have reviewed this matter and the plea agreement. I agree on behalf of the United States

that the terms and conditions set forth are appropriate and are in the best interests of justice.

PATRICK L. MEEHAN
United States Attorney
Eastern District of Pennsylvania

OF : (EQ

Date TIMOTHY R. RICE
Chief, Criminal Division
Assistant U.S. Attorney

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“7 42-09 COURT'S ACCEPTANCE

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United States District Court Judge |

 

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